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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ADRIAN HEILBUT, JESSEE BRODKIN,
 ENEA MILIORIS,                                         Civil Action No. 1:24-cv-05948-JLR

           Plaintiffs,                                  Judge Jennifer L. Rochon

 v.                                                     MOTION FOR ADMISSION PRO HAC
                                                        VICE OF MICHAEL B. SILVERSTEIN
 CASSAVA SCIENCES, INC., REMI
 BARBIER and LINDSAY BURNS,

           Defendants.



       Pursuant to Rule 1.3 of the Local Rules of the United States Court for the Southern District

of New York, Michael B. Silverstein hereby moves this Court for an Order for admission to

practice pro hac vice to appear as counsel for Defendants Cassava Sciences, Inc., Remi Barbier

and Lindsay Burns in the above-captioned action.

       I am a member in good standing of the Bar of Ohio, and there are no pending disciplinary

proceedings against me in any state or federal court. I have never been convicted of a felony,

censured, suspended, disbarred, or denied admission or readmission by any court.

       Attached as Exhibit “A” is a Certificate of Good Standing issued by the Supreme Court

of Ohio.

       Attached as “Exhibit “B” is my Affidavit pursuant to Local Rule 1.3.

       Attached as Exhibit “C” is the text of a proposed Order.

       WHEREFORE, for the reasons stated above, I respectfully move the Court to grant this

motion.
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Dated: November 26, 2024           Respectfully submitted,

                                   BENESCH, FRIEDLANDER,                 COPLAN
                                    & ARONOFF LLP

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                                   Counsel for Defendants Cassava Sciences, Inc.
                                   Remi Barbier and Dr. Lindsay Burns




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                                CERTIFICATE OF SERVICE

        I, Michael B. Silverstein, hereby certify that a copy of the foregoing Motion for Admission
Pro Hac Vice of Michael B. Silverstein, filed through the CM/ECF system, will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
on November 26, 2024.



Dated: November 26, 2024                                     /s/ Michael B. Silverstein




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